Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                          Desc: Main
                           Document Page 1 of 15




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

 ____________________________________________
                                                                       )
 In re:                                                                )
                                                                       )   PROMESA
 THE FINANCIAL OVERSIGHT AND                                           )   Title III
 MANAGEMENT BOARD FOR PUERTO RICO,                                     )
                                                                       )   Case No. 3:17-bk-03283 (LTS)
                      as representative of                             )
                                                                       )
 THE COMMONWEALTH OF PUERTO RICO, et al.,
                                                                       )
                      Debtors.                                         )
                                                                       )
 ____________________________________________ X
                                                                       )
 In re:                                                                )
                                                                       )
 THE FINANCIAL OVERSIGHT AND                                           )   PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO                                      )   Title III
                                                                       )
                                                                           Case No. 3:17-cv-01685 (LTS)
                       as representative of                            )
                                                                           Case No. 3:17-bk-03566 (LTS)
                                                                       )
 THE EMPLOYEES RETIREMENT SYSTEM OF THE )
 GOVERNMENT OF THE COMMONWEALTH OF                                     )
 PUERTO RICO,                                                          )
                                                                       )
                      Debtor.                                          )
                                                                       )
 --------------------------------------------------------------------- x


                REPLY IN SUPPORT OF MOTION OF CERTAIN SECURED
              CREDITORS OF THE EMPLOYEES RETIREMENT SYSTEM OF
              THE GOVERNMENT OF THE COMMONWEALTH OF PUERTO
               RICO TO COMPEL PRODUCTION OF DOCUMENTS FROM
                 FINANCIAL OVERSIGHT AND MANAGEMENT BOARD
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                                                               Desc: Main
                           Document Page 2 of 15



                                                     TABLE OF CONTENTS

                                                                                                                                           Page
 TABLE OF AUTHORITIES ......................................................................................................... ii
 INTRODUCTION ......................................................................................................................... 1
 ARGUMENT ................................................................................................................................. 1
 I.        The Issues Raised In The Motion Are Not Academic ....................................................... 1
 II.       The Bondholders Have A Substantial Need For Withheld Documents............................. 2
 III.      The Bondholders Are Entitled to Segregable Factual Information ................................... 5
 IV.       The Board’s Attorney-Client Privilege Claims Are Largely Unsupported ....................... 7
           A.         Many Of The Withheld Documents Do Not Involve Legal Advice ...................... 7
           B.         Documents Sent To Or From Non-Lawyer Third Parties Are Not
                      Privileged ............................................................................................................... 7
 V.        The Board Has Not Met Its Burden As To Attorney Work Product ................................. 9
 VI.       The Bondholders Preserve Their Remaining Arguments ................................................ 10
 CONCLUSION ............................................................................................................................ 10




                                                                      -i-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                                                              Desc: Main
                           Document Page 3 of 15



                                                   TABLE OF AUTHORITIES

                                                                                                                                      Page(s)
 CASES
 Apple Inc. v. Samsung Elecs. Co., Ltd.,
    306 F.R.D. 234 (N.D. Cal. 2015) ...............................................................................................7
 Bhatia Gautier v. Gobernador,
    199 D.P.R. 59 (P.R. 2017) .........................................................................................................2
 Cavallaro v. United States,
    284 F.3d 236 (1st Cir. 2002) ......................................................................................................8
 Columbia Data Prods., Inc. v. Autonomy Corp.,
    No. 11-12077-NMG, 2012 WL 6212898 (D. Mass. Dec. 12, 2012) ...............................8, 9, 10
 CSX Transp., Inc. v. ABC&D Recycling, Inc.,
    No. 11-30268-FDS, 2016 WL 6561551 (D. Mass. Nov. 3, 2016).............................................9
 Dahl v. Bain Capital Partners,
    714 F. Supp. 2d 225 (D. Mass. 2010) ........................................................................................8
 Davis v. City of New York,
    No. 10 Civ. 699, 2012 WL 612794 (S.D.N.Y. Feb. 27, 2012) ..................................................3
 Hill v. State St. Corp.,
     No. 09-12146-GAO, 2013 WL 6909524 (D. Mass. Dec. 30, 2013) ..........................................8
 Lluberes v. Uncommon Prods., LLC,
    663 F.3d 6 (1st Cir. 2011) ..........................................................................................................8
 Texaco P.R., Inc. v. Dep’t of Consumer Affairs,
    60 F.3d 867 (1st Cir. 1995) ........................................................................................................5
 United States v. Ackert,
    169 F.3d 136 (2d Cir. 1999).......................................................................................................8
 United States v. Graves,
    5 F.3d 1546 (5th Cir. 1993) .....................................................................................................10
 United States v. Textron, Inc.,
    577 F.3d 21 (1st Cir. 2009) (en banc) ..................................................................................9, 10
 W Holding Co. v. Chartis Ins. Co. of P.R.,
    300 F.R.D. 48 (D.P.R. 2014) ...............................................................................................9, 10
 Wade v. Touchdown Realty Grp., LLC,
   No. 17-10400-PBS, 2018 WL 575848 (D. Mass. Jan. 26, 2018) ..............................................8
 OTHER AUTHORITIES
 Fed. R. Civ. P. 26 .............................................................................................................................5




                                                                      - ii -
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                      Desc: Main
                           Document Page 4 of 15



                                        INTRODUCTION

        1.      The Oversight Board had a central role in the creation and adoption of the PayGo

 pension system and the decision to divert the flow of funds away from ERS in the effort to

 eliminate the Bondholders’ collateral. There can be few things more relevant or material to the

 issues in this case. Yet the Board has resisted discovery at every turn. Besides refusing to

 compromise on any discovery issue, the Board has interposed overbroad and frivolous objections,

 defied court orders, and served a document production so woefully deficient as to be indefensible.

        2.      The Board produced about 669 documents, of which fewer than 10 are non-

 repetitive and relevant. The rest of the production consisted largely of the same handful of

 documents produced again and again, including many copies of Puerto Rico statutes and public

 fiscal plans. More than one-third of the Board’s production—3,937 pages in all—are a single Excel

 file that appears to be the projected revenues and expenses for the entire Puerto Rico government,

 nearly all of which has absolutely nothing to do with PayGo or the Bondholders’ document

 requests. Yet the Board produced the entire Excel file as 3,937 separate TIFF images—a format

 that makes the data impossible to decipher or use, but that inflates the number of pages the Board

 can claim to have produced. Meanwhile, the Board and the other Respondents have resisted

 producing other fiscal information that would relate directly to the operations of the PayGo system.

        3.      The present Motion addresses the Board’s latest obstructive tactic—sweeping

 claims of privilege over hundreds of documents that shed light on the Board’s role in the PayGo

 system, based on a privilege log that does not substantiate those claims. The Board’s privilege

 claims should be overruled and the documents ordered produced.

                                           ARGUMENT

 I.     The Issues Raised In The Motion Are Not Academic.

        4.      The thrust of the Board’s Opposition is that the Bondholders’ arguments are


                                                -1-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                       Desc: Main
                           Document Page 5 of 15



 academic and challenge some, but not all, of the Board’s privilege claims. This is untrue. Crucially,

 the Bondholders challenge every invocation of the deliberative process privilege on the grounds

 of substantial need. Mot. ¶¶ 15–22; infra Part II. The Bondholders also challenge every invocation

 of the attorney-client privilege over documents that were sent by or to non-lawyer third parties,

 Mot. ¶¶ 26–28; infra Part IV.B., and every invocation of the attorney work product doctrine, Mot.

 ¶¶ 29–31; infra Part V. When those categorical objections are accounted for, there are just nine

 documents on the Board’s Exhibit B for which the Bondholders do not challenge all claimed

 privileges. 1 The nine documents are cited in the Motion’s discussion of attorney work-product, as

 examples of the flaws that infect all of the Board’s work-product assertions. Mot. ¶ 30.

 II.    The Bondholders Have A Substantial Need For Withheld Documents.

        5.         The Puerto Rico Supreme Court has made clear that, in assessing the Board’s

 reliance on the deliberative process privilege, the Court must weigh the government’s interest in

 confidentiality against the stronger interests favoring disclosure, such as “the interests of the

 private litigant,” “the need for accurate judicial fact finding,” and “the role of the government in

 the litigation.” Bhatia Gautier v. Gobernador, 199 D.P.R. 59, 88 (P.R. 2017) (quoting 6 J. Moore

 et al., Moore’s Federal Practice § 26.52[5], p. 26-412.11 (3d ed. 2016)).

        6.         The Bondholders have a substantial need for the withheld documents. Those

 materials almost certainly will shed light on the analysis behind the Board’s decision to adopt a

 version of PayGo that diverted the Pledged Property away from ERS. That diversion is relevant to

 the question whether employer contributions and PayGo fees are the same and, thus, whether the

 Bondholders’ liens extend to the PayGo fees. Where, as here, the question is whether one set of

 assets is derivative of another set of assets, statements and analysis made by the body that ordained


        1
            Documents 53, 138, 139, 302, 303, 311, 312, 314, and 315.



                                                       -2-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                                        Desc: Main
                           Document Page 6 of 15



 the transfer of the assets are relevant and material to the issue whether the one set of assets flowed

 from the other. 2 The Board has blocked inquiry into this crucial fact at every turn.

          7.       The Board’s inadequate document productions are only the most recent examples

 of this behavior. Its production consists largely of the same few, mostly blank documents produced

 repeatedly, or thousands of pages of accounting detail that no one ever asked for, that has nothing

 to do with ERS or PayGo, and that is in a format that renders it impossible to use. These documents

 provide no insight into how the PayGo system came to be, an omission all the more egregious

 because the Board and the other Respondents have themselves put the PayGo system at the center

 of the Stay Relief Motion. Having asserted its version of PayGo as a defense to the Bondholders’

 constitutionally protected right to adequate protection, the Board should not be allowed to withhold

 discovery showing why it adopted that approach. To the contrary, the deliberative process privilege

 “is routinely found to be inapplicable where the agency deliberations are central to the case.” Davis

 v. City of New York, No. 10 Civ. 699, 2012 WL 612794, at *8 (S.D.N.Y. Feb. 27, 2012).

          8.       The Board offers four inadequate responses. First, the Board relies on the Court’s

 ruling that the Bondholders did not have a substantial need for different documents withheld by

 different entities. Opp. ¶ 19. But as the Bondholders explained in the Motion, the Board is

 differently situated with respect to the documents at issue because it is the Board alone that

 mandated the adoption of PayGo. Mot. ¶ 22.

          9.       Second, the Board accuses the Bondholders of a “conspiracy theory” because the




          2
            As the Bondholders have written before, and elsewhere, a simple example demonstrates why the Board’s
 thinking is so relevant and material: Bob sends an e-mail to a friend saying that he intends to steal Alice’s car. Some
 time passes, and Alice’s car disappears. Soon, a car that looks very much like Alice’s is seen in Bob’s garage. Is
 Bob’s e-mail saying that he planned to steal Alice’s car probative of whether the car in Bob’s garage is Alice’s? The
 answer is an obvious “yes.” Bob’s e-mail is not simply probative of Bob’s criminal intent to steal a car; more
 fundamentally, it is highly probative of the fact that the car in his garage is likely to be Alice’s car. It is for this
 reason that the Board’s repeated claims that this discovery is about “intent” is misleading.



                                                          -3-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                                    Desc: Main
                           Document Page 7 of 15



 Motion did not describe the contents of specific withheld documents. Opp. ¶ 20. This is puzzling.

 Obviously the Bondholders cannot know what the withheld documents say; after all, they have

 been withheld. Moreover, there is little other evidence to go by, since most of the documents the

 Board produced consist of blank sheets of paper or thousands of pages of irrelevant accounting

 entries. The Board’s conclusory privilege log does not shed much light, either. 3 For the most part,

 it consists of the same cryptic descriptions repeated over and over. Accordingly, the Bondholders

 have followed the only course available to a litigant who has been stonewalled—they explained

 why they have a substantial need for the categories of documents requested and withheld, and

 asked that the party that obstructed discovery be held accountable for its conduct. Mot. ¶¶ 16–21.

         10.      Third, the Board claims the Bondholders have made an inconsistent argument when

 they say it was the Board that required the adoption of PayGo, yet also have said that a

 Commonwealth advisor threatened to impose a pay-as-you-go system in April 2016. Opp. ¶ 21.

 There is no inconsistency. The April 2016 meeting shows that the Commonwealth was considering

 a pay-as-you-go system as a way of evading the Bondholders’ liens even before the Oversight

 Board was created, but that does not change the fact that it was the Oversight Board that ultimately

 ordered the Commonwealth to adopt such a system. This is no surprise since, under PROMESA,

 the Board has overall control of the Commonwealth’s finances and acts as its representative. In

 fact, within a few months of the April 2016 meeting, it was the Board that sent a letter to Puerto

 Rico’s Governor stating that it had decided to impose a PayGo system. See Letter from the

 Oversight Board to Governor García Padilla (Nov. 23, 2016), attached hereto as Ex. A.

         11.      Fourth, the Board contends that the evidence sought is not relevant and that other



         3
           The Bondholders understand that the Oversight Board has provided the Court with a copy of their May 1,
 2019 privilege log, which it declined to file publicly because it contains personal email addresses. See Docket No.
 483 in Case No. 17-bk-03566.



                                                        -4-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                                    Desc: Main
                           Document Page 8 of 15



 sufficient evidence is available. Opp. ¶ 22. But that is simply not so. The evidence is directly

 relevant to Respondents’ own arguments that the Bondholders lost their liens as a result of the

 transition to PayGo, and it is essential because the Bondholders have access to no other evidence

 addressing the reasons why that transition occurred. The Court should therefore order the

 Oversight Board to produce the documents withheld under the deliberative process privilege

 because the Bondholders have shown a substantial need for the materials. 4

 III.    The Bondholders Are Entitled to Segregable Factual Information.

         12.      There is no question that the deliberative process privilege does not shield factual

 material that can be segregated from deliberative material. Texaco P.R., Inc. v. Dep’t of Consumer

 Affairs, 60 F.3d 867, 884–85 (1st Cir. 1995). As the Court explained in the May 6 Order, facts may

 be withheld only if they are “indissolubly linked to the broader analysis.” May 6 Order at 4, Docket

 No. 493 in Case No. 17-bk-03566 (quoting Stalcup v. CIA, 768 F.3d 65, 70 (1st Cir. 2014)). Yet

 the Board withheld numerous documents with descriptions showing that they contain segregable

 factual information. Mot. ¶ 23. And neither the Board’s privilege log nor the affidavit

 accompanying it explains why that factual information could not be segregated and produced.

         13.      The Oversight Board points out that it did redact some documents and produce

 factual portions of them. Opp. ¶¶ 24–25. If anything, this demonstrates that segregating factual

 information from privileged information is both feasible and non-burdensome, and the Board’s

 production of some factual information does nothing to show that numerous other withheld

 documents containing factual information could not likewise have been produced. As the Motion



         4
            The same conclusion holds for documents withheld on work-product grounds. As explained below, infra
 Part V, the Board has not adequately invoked the work-product doctrine. But even if it had, the Bondholders’
 substantial need for these documents would overcome the work product doctrine’s qualified protections. See Fed. R.
 Civ. P. 26(b)(3)(A) (allowing discovery of otherwise discoverable work product where a “party shows that it has
 substantial need for the materials to prepare its case and cannot, without undue hardship, obtain their substantial
 equivalent by other means”).



                                                        -5-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                       Desc: Main
                           Document Page 9 of 15



 explained, numerous documents were fully withheld despite descriptions revealing the presence

 of substantial factual material. Mot. ¶ 23. Indeed, to accept the Board’s position would be to credit

 its tacit representation that, among the more than 1,200 completely blank pages the Board

 produced, there is not one number, one sentence (or even one word), one statistic, or one graphic

 that could not have been revealed without disclosing highly confidential and privileged

 information. Obviously, that is not worthy of belief.

        14.     With respect to the other Respondents’ withholding of factual information under

 the deliberative process privilege, the Court concluded that the bare assertion of privilege was

 insufficient and ordered the production of “supplemental declarations” to “establish whether the

 factual information withheld from the documents should be produced.” May 6 Order at 5. The

 Court had previewed such a possible ruling at the May 2 Hearing, explaining that it wanted to

 “look at the affidavits again and see whether or not we require more detail” about efforts to

 segregate factual material. May 2 Hr’g Tr. at 71:21–23. At that hearing, the Court also ordered

 counsel for the Oversight Board, “having sat here all day, to take a look at your privilege log and

 see if you think it needs any modifications based on the rulings today.” Id. at 127:15–18.

        15.     Yet counsel did not do so. The declaration the Board filed says even less about

 efforts to segregate factual information than the other Respondents’ declarations did. The

 declaration the Board offered in support of its deliberative process privilege claims says nothing

 at all about factual material, and it makes no effort to explain why additional factual information

 could not have been produced. See Decl. of Natalie A. Jaresko (May 1, 2019), attached hereto as

 Ex. B. Nor does the Board’s privilege log say anything at all about this subject. At this late stage

 of discovery, the Board’s failure to provide a competent declaration or privilege log to support its

 claims of privilege requires that those claims of privilege be overruled.




                                                 -6-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                        Desc: Main
                          Document Page 10 of 15



 IV.    The Board’s Attorney-Client Privilege Claims Are Largely Unsupported.

        A.      Many Of The Withheld Documents Do Not Involve Legal Advice.

        16.     The Board claimed attorney-client privilege over numerous documents, but its

 privilege log indicates that no legal advice was involved in many of these documents. Mot. ¶ 35.

 The problem is not merely, as the Board claims, that the authors of many documents are external

 non-lawyer advisors—although that is a problem too, see infra Part IV.B. Rather, the point is that

 the descriptions, in some cases together with the authors, show that the communication is not

 privileged, or at least is not privileged in full. (The Board reveals in the Opposition that these are

 email chains containing multiple messages, Opp. ¶ 28, something that is not apparent from the

 log.) The Board suggests that the mere appearance of the words “counsel” somewhere in the

 document description is sufficient to support a claim of privilege, but that is clearly not the law.

 See, e.g., Apple Inc. v. Samsung Elecs. Co., Ltd., 306 F.R.D. 234, 240 (N.D. Cal. 2015) (“Even as

 to communications involving individuals who may be lawyers, ‘[t]he fact that a person is a lawyer

 does not make all communications with that person privileged.’” (quoting United States v. Martin,

 278 F.3d 988, 999 (9th Cir. 2002))). Descriptions like “[e]mails between Oversight Board

 executive director, members, in-house counsel, outside legal counsel, and financial advisors

 regarding updated forecasts and analyses for Fiscal Year 2018,” Doc. 21, do nothing to show that

 legal advice was involved with the communication. It is equally likely, if not more likely, that

 counsel were added to routine distribution lists by default. Other descriptions reveal that the

 documents contain multiple topics, not all of which involve legal advice, and thus do not support

 withholding in full. See, e.g., Doc. 94 (“. . . circulating documents soliciting legal advice and to

 prepare for meeting concerning certification of Commonwealth Fiscal Plan” (emphasis added)).

        B.      Documents Sent To Or From Non-Lawyer Third Parties Are Not Privileged.

        17.     Nearly all of the documents the Board withheld under the attorney-client privilege


                                                 -7-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                                       Desc: Main
                          Document Page 11 of 15



 were sent by or to non-lawyer third parties, yet the Board’s privilege log makes no effort to satisfy

 the strict requirements of the Kovel doctrine. Mot. ¶¶ 26–28; see Cavallaro v. United States, 284

 F.3d 236, 240 (1st Cir. 2002); Columbia Data Prods., Inc. v. Autonomy Corp., No. 11-12077-

 NMG, 2012 WL 6212898, at *14–15 (D. Mass. Dec. 12, 2012). The Board’s response on this point

 fundamentally misrepresents the Bondholders’ argument. Obviously, the point is not that

 Columbia Data Products “override[s]” the First Circuit’s decision in Cavallaro, Opp. ¶ 29, but

 that the Board had not made the three-element showing that Kovel requires. These are that (1) “‘the

 third-party communications [were] necessary, or at least highly useful, for the effective

 consultation between the client and the lawyer which the privilege is designed to permit”; (2) the

 third party “play[ed] ‘an interpretive role’” by “serv[ing] to translate information between the

 client and the attorney”; and (3) the third party was involved “for the purpose of rendering legal

 advice, rather than business advice.” Columbia Data Prods., 2012 WL 6212898, at *15. 5

 Columbia Data Products, decided a decade after Cavallaro, simply underscores the law, and there

 is a long line of precedent that agrees with Columbia Data Products’ interpretation of Cavallaro. 6

          18.      The three-element test from Columbia Data Products is unquestionably the legal

 standard here, and the Board cannot possibly meet the test as to the 180 documents that were sent

 by or to a non-lawyer, third party advisor but that were withheld as attorney-client privileged. At

 the threshold, the Board has given no explanation of the non-lawyer third party’s role in the



          5
             Respondents also pointed out, accurately, that the First Circuit has never adopted the Kovel doctrine. Mot.
 ¶ 27. In Cavallaro, the First Circuit merely “[a]ssum[ed] arguendo that this circuit would adopt the Kovel rule,” 284
 F.3d at 240, and the court did the same in Lluberes v. Uncommon Prods., LLC, 663 F.3d 6, 24 n. 20 (1st Cir. 2011)
 (“We have never actually adopted Kovel . . . but have assumed for the sake of argument that we would do so in the
 right case. At the risk of being overly cautious, we follow that approach again today.” (citation omitted)).
          6
           See, e.g., United States v. Ackert, 169 F.3d 136, 139–140 (2d Cir. 1999) (Kovel exception inapt since third
 party was not a “translator or interpreter of client communications”); Wade v. Touchdown Realty Grp., LLC, No. 17-
 10400-PBS, 2018 WL 575848, at *3 (D. Mass. Jan. 26, 2018) (listing three elements); Hill v. State St. Corp., No.
 09-12146-GAO, 2013 WL 6909524, at *3 (D. Mass. Dec. 30, 2013) (same); Dahl v. Bain Capital Partners, 714 F.
 Supp. 2d 225, 227–28 (D. Mass. 2010) (same).



                                                          -8-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                        Desc: Main
                          Document Page 12 of 15



 communication; it has thus failed to show “whether the third parties’ involvement was for a

 business or legal purpose.” See May 6 Order at 9. Nor has the Board shown that the other Kovel

 requirements are met: that the third party was “necessary, or at least highly useful,” to the provision

 of legal advice, and that the third party “play[ed] an ‘interpretative role.’” Columbia Data Prods.,

 2012 WL 6212898, at *15. The Board complains that the Bondholders have not identified the

 specific documents to which this objection applies, Opp. ¶ 30, but the Bondholders did identify

 them—all 180 documents that the Board withheld on attorney-client grounds but that were sent by

 or to a non-lawyer third party. The Court should therefore order the Board to turn over all 180 of

 these documents. There is no need for the Court to “evaluate[] each description for itself,” Opp.

 ¶ 30, since none even attempts to make the showing that the Kovel doctrine requires.

 V.     The Board Has Not Met Its Burden As To Attorney Work Product.

        19.     The Board has not adequately invoked work-product protection as to the 199

 documents withheld on that ground. Mot. ¶¶ 29–31. The Court previously advised the Board that

 the work-product doctrine “is really narrow in the First Circuit” and that other Respondents had

 been “using attorney work product way too broadly for this jurisdiction.” May 2 Hr’g Tr. at 114:4,

 119:1–2. Although the Board identified 199 documents as having been withheld on work-product

 grounds, it did not make any showing as to any document that the materials were “prepared for

 use in litigation,” as First Circuit precedent requires, rather than that the materials concerned a

 subject that might give rise to litigation. United States v. Textron, Inc., 577 F.3d 21, 29 (1st Cir.

 2009) (en banc) (emphasis added). And the Board’s effort to limit Textron to its facts, Opp’n ¶ 34,

 is inconsistent with how that decision is applied every day in the First Circuit. See, e.g., CSX

 Transp., Inc. v. ABC&D Recycling, Inc., No. 11-30268-FDS, 2016 WL 6561551, at *3 (D. Mass.

 Nov. 3, 2016) (“The [work product] doctrine only protects against disclosure of materials actually

 prepared for litigation or trial.” (citing Textron, 577 F.3d at 29)); W Holding Co. v. Chartis Ins.


                                                  -9-
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                         Desc: Main
                          Document Page 13 of 15



 Co. of P.R., 300 F.R.D. 48, 51 (D.P.R. 2014) (rejecting work product assertion because “aside

 from the fact that the subject matter of the document pertains to then-existing litigation, W Holding

 has not offered specific facts, evidence, or any other proof to show that the memorandum was

 prepared because of litigation”); Columbia Data Prods., 2012 WL 6212898, at *12 (explaining

 that in Textron, the First Circuit “adopted a narrower test which asks whether the documents or

 materials at issue were ‘prepared for use in possible litigation’” (quoting Textron, 577 F.3d at 27)).

        20.     The problem with the Board’s work-product assertions is not that “there was no

 litigation to justify the” doctrine, Opp. ¶ 36, but rather that the Board makes no showing that any

 of the 199 documents were created for use in that litigation. The privilege log and the Opposition

 are therefore addressed to the wrong standard: even if the Board “reasonably anticipated, and

 continues to anticipate, extensive litigation,” Opp. ¶ 36, that is simply not the test under Textron.

 VI.    The Bondholders Preserve Their Remaining Arguments.

        21.     Finally, the Bondholders’ Motion preserved arguments that the Board’s withheld

 documents were post-decisional, Mot. ¶ 33, that the Board had waived privilege over documents

 shared with the Commonwealth, its advisors, and AAFAF, Mot. ¶ 34, and that the fraud exception

 to the attorney client-privilege applies, Mot. ¶ 35. Although the Board retorts that these arguments

 are foreclosed by this Court’s prior rulings, Opp. ¶¶ 39–41, they have been raised to preserve them

 for appeal, which the Bondholders are entitled to do. Mot. ¶ 32; cf. United States v. Graves, 5 F.3d

 1546, 1552 n. 7 (5th Cir. 1993) (recognizing that “the flip side” of waiver rules is that “a trial judge

 should not be surprised, perturbed or annoyed when counsel makes an objection or offer of proof

 on an issue that the judge believes was disposed of” by a prior ruling, as “counsel is, at the very

 least, preserving the issue for appeal”).

                                             CONCLUSION

        For the reasons set forth above, this Court should grant the Bondholders’ Motion to Compel.


                                                  - 10 -
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                       Desc: Main
                          Document Page 14 of 15



 In San Juan, Puerto Rico, today May 29, 2019.
 By:
 /s/ Alfredo Fernández-Martínez                           /s/ Geoffrey S. Stewart
 Alfredo Fernández-Martínez                               Bruce Bennett (pro hac vice)
 DELGADO & FERNÁNDEZ, LLC                                 JONES DAY
 PO Box 11750                                             555 South Flower Street
 Fernández Juncos Station                                 Fiftieth Floor
 San Juan, Puerto Rico 00910-1750                         Los Angeles, California 90071
 Tel. (787) 274-1414                                      Tel. (213) 489-3939
 Fax: (787) 764-8241                                      Fax: (213) 243-2539
 afernandez@delgadofernandez.com                          bbennett@jonesday.com
 USDC-PR 210511                                           Benjamin Rosenblum (pro hac vice)
                                                          JONES DAY
                                                          250 Vesey Street
                                                          New York, New York 10281
                                                          Tel. (212) 326-3939
                                                          Fax: (212) 755-7306
                                                          brosenblum@jonesday.com
                                                          Geoffrey S. Stewart (pro hac vice)
                                                          Matthew E. Papez (pro hac vice)
                                                          Sparkle L. Sooknanan (pro hac vice)
                                                          JONES DAY
                                                          51 Louisiana Ave. N.W.
                                                          Washington, DC 20001
                                                          Tel. (202) 879-3939
                                                          Fax: (202) 626-1700
                                                          gstewart@jonesday.com
                                                          mpapez@jonesday.com
                                                          ssooknanan@jonesday.com
                                                          David R. Fox (pro hac vice)
                                                          JONES DAY
                                                          100 High Street, Floor 21
                                                          Boston, MA 02110
                                                          Tel. (617) 960-3939
                                                          Fax: (617) 449-6999
                                                          drfox@jonesday.com

     Counsel for ERS Bondholders Andalusian Global Designated Activity Company, Glendon
  Opportunities Fund, L.P., Mason Capital Master Fund, LP, Oaktree Opportunities Fund IX, L.P.,
    Oaktree Opportunities Fund IX (Parallel 2), L.P., Ocher Rose, L.L.C., and SV Credit, L.P.




                                                 - 11 -
Case:17-03283-LTS Doc#:7151 Filed:05/29/19 Entered:05/29/19 16:32:35                 Desc: Main
                          Document Page 15 of 15



/s/ Alicia I. Lavergne-Ramírez                      /s/ Cheryl T. Sloane
 José C. Sánchez-Castro                              John K. Cunningham (pro hac vice)
 USDC-PR 213312                                      Glenn M. Kurtz (pro hac vice)
 jsanchez@sanpir.com                                 WHITE & CASE LLP
                                                     1221 Avenue of the Americas
 Alicia I. Lavergne-Ramírez                          New York, NY 10036
 USDC-PR 215112                                      Tel. (212) 819-8200
 alavergne@sanpir.com                                Fax (212) 354-8113
                                                     jcunningham@whitecase.com
 Maraliz Vázquez-Marrero                             gkurtz@whitecase.com
 USDC-PR 225504
 mvazquez@sanpir.com                                 Jason N. Zakia (pro hac vice)
                                                     Cheryl T. Sloane (pro hac vice)
 SÁNCHEZ PIRILLO LLC                                 WHITE & CASE LLP
 270 Muñoz Rivera Avenue, Suite 1110                 200 S. Biscayne Blvd., Suite 4900
 San Juan, PR 00918                                  Miami, FL 33131
 Tel. (787) 522-6776                                 Tel. (305) 371-2700
 Fax: (787) 522-6777                                 Fax (305) 358-5744
                                                     jzakia@whitecase.com
                                                     csloane@whitecase.com

 Counsel for Puerto Rico AAA Portfolio Bond Fund, Inc., Puerto Rico AAA Portfolio Bond Fund
 II, Inc., Puerto Rico AAA Portfolio Target Maturity Fund, Inc., Puerto Rico Fixed Income Fund,
  Inc., Puerto Rico Fixed Income Fund II, Inc., Puerto Rico Fixed Income Fund III, Inc., Puerto
  Rico Fixed Income Fund IV, Inc., Puerto Rico Fixed Income Fund V, Inc., Puerto Rico GNMA
    & U.S. Government Target Maturity Fund, Inc., Puerto Rico Investors Bond Fund I, Puerto
  Rico Investors Tax-Free Fund, Inc., Puerto Rico Investors Tax-Free Fund, Inc. II, Puerto Rico
   Investors Tax-Free Fund III, Inc., Puerto Rico Investors Tax-Free Fund IV, Inc., Puerto Rico
    Investors Tax-Free Fund V, Inc., Puerto Rico Investors Tax-Free Fund VI, Inc., Puerto Rico
Mortgage-Backed & U.S. Government Securities Fund, Inc., Tax-Free Puerto Rico Fund, Inc., Tax-
       Free Puerto Rico Fund II, Inc., and Tax-Free Puerto Rico Target Maturity Fund, Inc.




                                           - 12 -
